            Case 2:18-bk-19439-NB                             Doc 14 Filed 09/05/18 Entered 09/05/18 05:10:03                                  Desc
                                                               Main Document    Page 1 of 23
 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &              FOR COURT USE ONLY
 Email Address
 Michael F. Chekian, Esq. SBN 165026
 Chekian Law Office, Inc.
 11400 W. Olympic Blvd., #200
 Los Angeles, CA 90064-1584
 (Voice) 310 390 5529 (Facsimile) 310 451 0739

 (email) mike@cheklaw.com



     Debtor(s) appearing without an attorney
     Attorney for: Debtor

                                                            UNITED STATES BANKRUPTCY COURT
                                                                  CENTRAL DISTRICT OF CALIFORNIA
In re:
                                                                                         CASE NO.: 2:18-bk-19439-NB
                                                                                         CHAPTER: 13


                                   Nettie L. Clark

                                                                                                   NOTICE OF OPPORTUNITY TO
                                                                                                 REQUEST A HEARING ON MOTION

                                                                                                                [LBR 9013-1(o)]


                                                                                                    [No hearing unless requested in writing]
                                                                            Debtor(s.)


TO THE U.S. TRUSTEE AND ALL PARTIES ENTITLED TO NOTICE, PLEASE TAKE NOTICE THAT:

1. Movant(s) Nettie L. Clark   , filed a motion or application (Motion) entitled                       Motion For Appointment of Debtor's Next Friend,
   Alisa Clark, Per FRBP 1004.1; Declaration of Alisa Clark .

2. Movant(s) is requesting that the court grant the Motion without a hearing as provided for in LBR 9013-1(o), unless a party in interest
   timely files and serves a written opposition to the Motion and requests a hearing.

3. The Motion is based upon the legal and factual grounds set forth in the Motion. (Check appropriate box below):

         The full Motion is attached to this notice; or

         The full Motion was filed with the court as docket entry #                      , and a detailed description of the relief sought is attached to this
         notice.

4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to LBR 9013-1(o),
   any party who opposes the Motion may request a hearing on the Motion. The deadline to file and serve a written opposition and
   request for a hearing is 14 days after the date of service of this notice, plus 3 additional days if you were served by mail or pursuant
   to F.R.Civ.P. 5(b)(2)(D) or (F).
   a. If you timely file and serve a written opposition and request for a hearing, movant will file and serve a notice of hearing at least 14
       days in advance of the hearing. [LBR 9013-1(o)(4)]

   b. If you fail to comply with this deadline:

         (1) Movant will file a declaration to indicate: (1) the Motion was properly served, (2) the response period elapsed, and (3) no
             party filed and served a written opposition and request for a hearing within 14 days after the date of service of the notice
             [LBR 9013-1(o)(3)];

                This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                             Page 1                F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
        Case 2:18-bk-19439-NB                    Doc 14 Filed 09/05/18 Entered 09/05/18 05:10:03                                       Desc
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      (2) Movant will lodge an order that the court may use to grant the Motion; and

      (3) The court may treat your failure as a waiver of your right to oppose the Motion and may grant the Motion without further
          hearing and notice. [LBR 9013-1(h)]




                                                                                 Respectfully submitted,



Date: September 5, 2018

                                                                                 /s/ Michael F. Chekian
                                                                                 Signature of Movant or attorney for Movant

                                                                                 Michael F. Chekian
                                                                                 Printed name of Movant or attorney for Movant




           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                 Page 2                 F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

11400 W. Olympic Blvd., Ste. 200, Los Angeles, CA 90064-1584

A true and correct copy of the foregoing document entitled (specify): Notice of Opportunity To Request A Hearing on
Motion and Motion for Appointment of Debtor’s Next Friend, Alisa Clark, Per FRBP 1004.1; Declaration of Alisa Clark
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
__9/5/2018_____________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:

Attorney for Debtor Michael Chekian: mike@cheklaw.com
Chapter 13 Trustee Kathy Dockery: efiling@CH13LA.com
U.S. Trustee: ustpregion16.la.ecf@usdoj.gov
Seterus, Inc., c/o Nichole Glowin: nglowin@wrightlegal.net
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) __9/5/2018_____________, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtor Nettie Clark
3436-3436 ½ 8th Avenue
Los Angeles, CA 90018
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __/2017_____________, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   9/5/2018                             Michael Chekian                                          /s/ Michael Chekian
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                                  Case 2:18-bk-19439-NB             Doc 14 Filed 09/05/18 Entered 09/05/18 05:10:03                Desc
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                                                                              1   Michael F. Chekian, Esq. (CA Bar No.165026)
                                                                                  Chekian Law Office, Inc.
                                                                              2   11400 W. Olympic Blvd., Suite 200
                                                                                  Los Angeles, CA 90064
                                                                              3   (310) 390-5529-Voice
                                                                                  (310) 451-0739-Facsimile
                                                                              4   mike@cheklaw.com-Email
                                                                              5   Attorney for Debtor Nettie Clark
                                                                              6

                                                                              7

                                                                              8                              UNITED STATES BANKRUPTCY COURT
                                                                              9               CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
                                                                             10   In Re:                                            )    Chapter 13
                                                                                                                                    )    Case No.: 2:18-bk-19439-NB
                                                                             11        Nettie L. Clark,                             )
                                                                                                                                    )    MOTION FOR APPOINTMENT OF
                                                                                                                                    )    DEBTOR’S NEXT FRIEND, ALISA
                        1140 0 W . O L Y M P I C B L V D ., S U I T E 20 0




                                                                             12
                          L O S A N G E L E S , C A L I F O R N I A 900 64




                                                                                                                                    )    CLARK, PER F.R.B.P. 1004.1;
C HEKIAN L AW O FFICE




                                                                             13                                                     )    DECLARATION OF ALISA CLARK
                                                                                                                                    )
                                                                             14                            Debtor                   )    Hearing:
                                                                                                                                    )    Date: No Hearing Required
                                                                             15                                                     )    Time:
                                                                                                                                    )    Place:
                                                                             16                                                     )
                                                                                                                                    )
                                                                             17                                                     )
                                                                                                                                    )
                                                                             18                                                     )
                                                                                                                                    )
                                                                             19                                                     )
                                                                                                                                    )
                                                                             20

                                                                             21   TO: HON. NEIL BASON, U.S. AND CHAPTER 13 TRUSTEES, NETTIE L. CLARK,
                                                                             22   INTERESTED PARTIES:
                                                                             23   I.        INTRODUCTION
                                                                             24             Debtor Nettie L. Clark (“Debtor”) hereby moves for an order appointing Alisa Clark
                                                                             25   (“Alisa C.”) as Debtor’s next friend per F.R.B.P. 1004.1 (“Motion”).
                                                                             26             This Motion is based on the petition, schedules, statements and other papers on file in the
                                                                             27   case, the official court file, this Motion and such other and further matters as the court may
                                                                             28   consider.


                                                                                                                                     1
                                                                                                                    MOTION TO APPOINT NEXT FRIEND
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                                                                              1   II.    STATEMENT OF FACTS
                                                                              2           Alisa C. is Debtor’s daughter and the proposed next friend in this case pursuant to
                                                                              3   Bankruptcy Rule 1004.1.
                                                                              4          Debtor is 91 years old, suffers from dementia, has a full time caretaker, and needs the
                                                                              5   assistance of others to walk, get dressed, bathe and take medication. She cannot make medical
                                                                              6   or financial decisions, cannot pay her bills, and cannot handle monetary transactions.
                                                                              7          Under the circumstances, Debtor is not able to meet the requirements of obtaining a
                                                                              8   prepetition credit counseling certificate, participate in a postpetition instructional course in
                                                                              9   financial management, attend her Meeting of Creditors, or otherwise participate in this
                                                                             10   bankruptcy case except through Alisa C.
                                                                             11          A doctor’s note attached to the within declaration of Alisa C. confirms Debtor’s dementia
                                                                                  (see Exhibit B to the within declaration). Alisa C. has a durable power of attorney giving her
                        1140 0 W . O L Y M P I C B L V D ., S U I T E 20 0




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                          L O S A N G E L E S , C A L I F O R N I A 900 64
C HEKIAN L AW O FFICE




                                                                             13   broad authority to act regarding Debtor’s personal and financial affairs, executed in 2014 before
                                                                             14   witnesses and a notary (see Exhibit A to the within Alisa C. declaration).
                                                                             15

                                                                             16   III.   ARGUMENT: DEBTOR’S NEXT FRIEND SHOULD BE AUTHORIZED TO
                                                                             17   ACT ON DEBTOR’S BEHALF PURSUANT TO BANKRUPTCY RULE 1004.1
                                                                             18

                                                                             19          Code Section 105(a) provides, “The court may issue any order . . . that is necessary or
                                                                             20   appropriate to carry out the provisions of this title.” FRBP 1004.1 states that the court, “. . . shall
                                                                             21   make any order to protect . . . the incompetent debtor.” Local Bankruptcy Rule 1001-1(e)(2)
                                                                             22   states, “If no parallel or analogy exists, then the court may proceed in any lawful manner not
                                                                             23   inconsistent with these Local Bankruptcy Rules and the FRBP.”
                                                                             24          If a mentally incompetent debtor has no legal representative, the petition may be signed
                                                                             25   by a spouse or family member called a next friend, per Bankruptcy Rule 1004.1.
                                                                             26          Debtor is physically and mentally incapacitated. Alisa C., her daughter and next friend,
                                                                             27   is able to sign the bankruptcy paperwork and appear on Debtor’s behalf at the meeting of
                                                                             28   creditors. Debtor’s declaration submits admissible evidence meeting the requirements set forth in


                                                                                                                                     2
                                                                                                                 MOTION TO APPOINT NEXT FRIEND
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                                                                              1   In re Lane, Bankr. Case No. 12-36873-elp7 (Or. 2012)) for appointment of a next friend. The
                                                                              2   Motion should thus be granted.
                                                                              3   IV.    CONCLUSION
                                                                              4             Therefore, it is respectfully requested that the court issue an order appointing Alisa C. to
                                                                              5   act in this case on Debtor’s behalf as a next friend within the meaning of Bankruptcy Rule
                                                                              6   1004.1.
                                                                              7

                                                                              8                                                           Respectfully submitted,
                                                                              9

                                                                             10   September 5, 2018                                       CHEKIAN LAW OFFICE, INC.
                                                                             11                                                           __/s/Michael F. Chekian______________
                                                                                                                                          Michael F. Chekian
                        1140 0 W . O L Y M P I C B L V D ., S U I T E 20 0




                                                                             12
                                                                                                                                          Chekian Law Office
                          L O S A N G E L E S , C A L I F O R N I A 900 64
C HEKIAN L AW O FFICE




                                                                             13                                                           Attorneys for Debtor

                                                                             14

                                                                             15

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                                                                                                                                      3
                                                                                                                   MOTION TO APPOINT NEXT FRIEND
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 1                            DECLARATION OF ALISA CLARK
 2                               IN SUPPORT OF MOTION
 3

 4         I, Alisa Clark, do hereby declare under the penalty of perjury
 5   that the following is true and correct to the best of my personal
 6   knowledge and belief, and if called upon as a witness, I could and
 7   would personally testify under oath in a court of law to the
 8   truthfulness of each of the below facts.
 9

10         1.     I am the designated next friend in Nettie Clark’s
11   (“Debtor”) Chapter 13 case pursuant to Federal Rule of Bankruptcy
12   Procedure 1004.1    I make this declaration in support of the motion for
13   appointment of a next friend as per Bankruptcy Rule 1004.1.
14         2.     According to Debtor’s attorney, the court case of In re
15   Lane, Bankr. Case No. 12-36873-elp7 (Or. 2012)), requires that several
16   items of information be provided in the form of admissible evidence,
17   and my responses are below as to each line item request.
18                a.    The movant’s name and relationship to the Debtor.        I
19   am Alisa Clark, the adult daughter of the Debtor.
20                b.    Whether the Debtor has a duly appointed representative
21   under state law.    There is no duly appointed state law representative.
22   However, I have the durable power of attorney for the Debtor, which
23   was signed in November 2014, notarized and witnessed by 2 persons, a
24   true and correct copy of which is attached hereto as Exhibit A.           This
25   power of attorney gives me broad authority to handle Debtor’s personal
26   and financial affairs.
27                c.    The reason why the appointment of a next friend is
28   necessary.    Debtor is 91 years old, suffers from dementia, lives at




     Declaration - 1
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 1   our home at 3436 8th Avenue, and she has a full time caretaker.       Debtor
 2   needs the assistance of others to walk, get dressed, bathe, and take
 3   medication, provided by In Home Health Services.      Debtor cannot make
 4   medical or financial decisions.     She gets cannot pay her bills, cannot
 5   communicate with others regarding her financial obligations, and
 6   cannot handle monetary transactions.     A true and correct letter from
 7   Debtor’s doctor diagnosing her with dementia as of April 2017 is
 8   attached hereto as Exhibit B.
 9           The Debtor worked up to 2016 when she retired from her sole
10   proprietor business, Clark’s Probation, a transition home for boys
11   prior to living with their foster families.      The loss of income
12   contributed to falling behind on the home mortgage and this bankruptcy
13   was filed after my attempts failed at obtaining a loan modification
14   through the Keep Your Home California program.      I starting receiving
15   foster care income of $7,000 in early 2018 which is why I believe we
16   can catch up on the back mortgage payments in this Chapter 13.
17                d.    An explanation of why appointment of movant as a next
18   friend would be in the Debtor’s best interest.      I am willing and able
19   to pay most of the money to pay the plan and mortgage payments in this
20   case.     I earn about $7,000 per month as a foster parent and about
21   $1,700 per month working at LAUSD.     I am motivated to save the home
22   since I live there and I am a co-owner.
23                e.    The fee, if any, the next friend will charge the
24   Debtor.     I am not charging the Debtor any money, directly or
25   indirectly for my services.
26                f.    The movant’s criminal, financial and professional
27   history.     I have no criminal record, I am a government approved foster
28   parent and I also work at LAUSD.     My income is sufficient to sustain




     Declaration - 2
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                                      9                              Exhibit A
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                                     10                              Exhibit A
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                                     11                              Exhibit A
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                                     13                              Exhibit A
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                                       1                        Exhibit B
